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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

                                                     §
       IN RE:                                        §       CASE NO: 17-12870
                                                     §
       REILLY BENTON COMPANY, INC.,                  §       CHAPTER 7
                                                     §
       DEBTOR.                                       §       SECTION A
                                                     §

                                                  ORDER

            Before the Court is the ex parte Motion To Expedite the Motion To Seal 1 (the “Motion”),

   [ECF Doc. 253], filed by Roussel & Clement Creditors.

            IT IS ORDERED that the Motion is GRANTED.

            IT IS FURTHER ORDERED that the Motion to File Exhibits Under Seal (the “Motion

   to Seal” [ECF Doc. 251], is set for hearing on Monday, September 12, 2022, at 9:30 A.M. before

   the undersigned at the U.S. Bankruptcy Court, 500 Poydras Street, Courtroom B-709, New

   Orleans, LA 70130, Teleconference Line: 1-888-684-8852; Access code: 9318283. The parties are

   directed to this Court’s General Order 2021-2 for instructions regarding this Court’s hybrid model

   plan for conduct of hearings as of October 4, 2021 (https://www.laeb.uscourts.gov/).

            IT IS FURTHER ORDERED that responses to the Motion to Seal are due Friday,

   September 9, 2022.




   1
           The Movant titled this motion the Motion for Expedited Hearing on Motion To Compel and
   Overrule Objections of Louisiana Insurance Guaranty Association, but the filing addresses and is related
   to the Motion to File Exhibits Under Seal (the “Motion to Seal” [ECF Doc. 251].
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           IT IS FURTHER ORDERED that Movant shall serve this Order on the required parties

   who will not receive a copy through the ECF system pursuant to the FRBP and the LBRs and file

   a certificate of service to that effect within three (3) days.

           New Orleans, Louisiana, September 7, 2022.



                                                           _____________________________________
                                                                   MEREDITH S. GRABILL
                                                            UNITED STATES BANKRUPTCY JUDGE




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